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                                      Declaration of Dr. Jaimie Meyer

   Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:


   I.       Background and Qualifications

         1. I am Dr. Jaimie Meyer, an Assistant Professor of Medicine at Yale School of Medicine
            and Assistant Clinical Professor of Nursing at Yale School of Nursing in New Haven,
            Connecticut. I am board certified in Internal Medicine, Infectious Diseases and Addiction
            Medicine. I completed my residency in Internal Medicine at NY Presbyterian Hospital at
            Columbia, New York, in 2008. I completed a fellowship in clinical Infectious Diseases at
            Yale School of Medicine in 2011 and a fellowship in Interdisciplinary HIV Prevention at
            the Center for Interdisciplinary Research on AIDS in 2012. I hold a Master of Science in
            Biostatistics and Epidemiology from Yale School of Public Health.

         2. I have worked for over a decade on infectious diseases in the context of jails and prisons.
            From 2008-2016, I served as the Infectious Disease physician for York Correctional
            Institution in Niantic, Connecticut, which is the only state jail and prison for women in
            Connecticut. In that capacity, I was responsible for the management of HIV, Hepatitis C,
            tuberculosis, and other infectious diseases in the facility. Since then, I have maintained a
            dedicated HIV clinic in the community for patients returning home from prison and jail.
            For over a decade, I have been continuously funded by the NIH, industry, and
            foundations for clinical research on HIV prevention and treatment for people involved in
            the criminal justice system, including those incarcerated in closed settings (jails and
            prisons) and in the community under supervision (probation and parole). I have served as
            an expert consultant on infectious diseases and women’s health in jails and prisons for the
            UN Office on Drugs and Crimes, the Federal Bureau of Prisons, and others. I also served
            as an expert health witness for the US Commission on Civil Rights Special Briefing on
            Women in Prison.

         3. I have written and published extensively on the topics of infectious diseases among
            people involved in the criminal justice system including book chapters and articles in
            leading peer-reviewed journals (including Lancet HIV, JAMA Internal Medicine,
            American Journal of Public Health, International Journal of Drug Policy) on issues of
            prevention, diagnosis, and management of HIV, Hepatitis C, and other infectious diseases
            among people involved in the criminal justice system.

         4. My C.V. includes a full list of my honors, experience, and publications, and it is attached
            as Exhibit A.

         5. I am being paid $1,000 for my time reviewing materials and preparing this report.

         6. I have not testified as an expert at trial or by deposition in the past four years.

   II.      Heightened Risk of Epidemics in Jails and Prisons



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      7. The risk posed by infectious diseases in jails and prisons is significantly higher than in
         the community, both in terms of risk of transmission, exposure, and harm to individuals
         who become infected. There are several reasons this is the case, as delineated further
         below.

      8. Globally, outbreaks of contagious diseases are all too common in closed detention
         settings and are more common than in the community at large. Prisons and jails are not
         isolated from communities. Staff, visitors, contractors, and vendors pass between
         communities and facilities and can bring infectious diseases into facilities. Moreover,
         rapid turnover of jail and prison populations means that people often cycle between
         facilities and communities. People often need to be transported to and from facilities to
         attend court and move between facilities. Prison health is public health.

      9. Reduced prevention opportunities: Congregate settings such as jails and prisons allow for
         rapid spread of infectious diseases that are transmitted person to person, especially those
         passed by droplets through coughing and sneezing. When people must share dining halls,
         bathrooms, showers, and other common areas, the opportunities for transmission are
         greater. When infectious diseases are transmitted from person to person by droplets, the
         best initial strategy is to practice social distancing. When jailed or imprisoned, people
         have much less of an opportunity to protect themselves by social distancing than they
         would in the community. Spaces within jails and prisons are often also poorly ventilated,
         which promotes highly efficient spread of diseases through droplets. Placing someone in
         such a setting therefore dramatically reduces their ability to protect themselves from
         being exposed to and acquiring infectious diseases.

      10. Disciplinary segregation or solitary confinement is not an effective disease containment
          strategy. Beyond the known detrimental mental health effects of solitary confinement,
          isolation of people who are ill in solitary confinement results in decreased medical
          attention and increased risk of death. Isolation of people who are ill using solitary
          confinement also is an ineffective way to prevent transmission of the virus through
          droplets to others because, except in specialized negative pressure rooms (rarely in
          medical units if available at all), air continues to flow outward from rooms to the rest of
          the facility. Risk of exposure is thus increased to other people in prison and staff.

      11. Reduced prevention opportunities: During an infectious disease outbreak, people can
          protect themselves by washing hands. Jails and prisons do not provide adequate
          opportunities to exercise necessary hygiene measures, such as frequent handwashing or
          use of alcohol-based sanitizers when handwashing is unavailable. Jails and prisons are
          often under-resourced and ill-equipped with sufficient hand soap and alcohol-based
          sanitizers for people detained in and working in these settings. High-touch surfaces
          (doorknobs, light switches, etc.) should also be cleaned and disinfected regularly with
          bleach to prevent virus spread, but this is often not done in jails and prisons because of a
          lack of cleaning supplies and lack of people available to perform necessary cleaning
          procedures.

      12. Reduced prevention opportunities: During an infectious disease outbreak, a containment
          strategy requires people who are ill with symptoms to be isolated and that caregivers have

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           access to personal protective equipment, including gloves, masks, gowns, and eye
           shields. Jails and prisons are often under-resourced and ill-equipped to provide sufficient
           personal protective equipment for people who are incarcerated and caregiving staff,
           increasing the risk for everyone in the facility of a widespread outbreak.

       13. Increased susceptibility: People incarcerated in jails and prisons are more susceptible to
           acquiring and experiencing complications from infectious diseases than the population in
           the community. 1 This is because people in jails and prisons are more likely than people in
           the community to have chronic underlying health conditions, including diabetes, heart
           disease, chronic lung disease, chronic liver disease, and lower immune systems from
           HIV.

       14. Jails and prisons are often poorly equipped to diagnose and manage infectious disease
           outbreaks. Some jails and prisons lack onsite medical facilities or 24-hour medical care.
           The medical facilities at jails and prisons are almost never sufficiently equipped to handle
           large outbreaks of infectious diseases. To prevent transmission of droplet-borne
           infectious diseases, people who are infected and ill need to be isolated in specialized
           airborne negative pressure rooms. Most jails and prisons have few negative pressure
           rooms if any, and these may be already in use by people with other conditions (including
           tuberculosis or influenza). Resources will become exhausted rapidly and any beds
           available will soon be at capacity. This makes both containing the illness and caring for
           those who have become infected much more difficult.

       15. Jails and prisons lack access to vital community resources to diagnose and manage
           infectious diseases. Jails and prisons do not have access to community health resources
           that can be crucial in identifying and managing widespread outbreaks of infectious
           diseases. This includes access to testing equipment, laboratories, and medications.

       16. Jails and prisons often need to rely on outside facilities (hospitals, emergency
           departments) to provide intensive medical care given that the level of care they can
           provide in the facility itself is typically relatively limited. During an epidemic, this will
           not be possible, as those outside facilities will likely be at or over capacity themselves.

       17. Health safety: As an outbreak spreads through jails, prisons, and communities, medical
           personnel become sick and do not show up to work. Absenteeism means that facilities
           can become dangerously understaffed with healthcare providers. This increases a number
           of risks and can dramatically reduce the level of care provided. As health systems inside
           facilities are taxed, people with chronic underlying physical and mental health conditions
           and serious medical needs may not be able to receive the care they need for these
           conditions. As supply chains become disrupted during a global pandemic, the availability
           of medicines and food may be limited.

       18. Safety and security: As an outbreak spreads through jails, prisons, and communities,
           correctional officers and other security personnel become sick and do not show up to

   1
    Active case finding for communicable diseases in prisons, 391 The Lancet 2186 (2018),
   https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(18)31251-0/fulltext.
                                                      3
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             work. Absenteeism poses substantial safety and security risk to both the people inside
             the facilities and the public.

          19. These risks have all been borne out during past epidemics of influenza in jails and
              prisons. For example, in 2012, the CDC reported an outbreak of influenza in 2 facilities
              in Maine, resulting in two inmate deaths. 2 Subsequent CDC investigation of 995 inmates
              and 235 staff members across the 2 facilities discovered insufficient supplies of influenza
              vaccine and antiviral drugs for treatment of people who were ill and prophylaxis for
              people who were exposed. During the H1N1-strain flu outbreak in 2009 (known as the
              “swine flu”), jails and prisons experienced a disproportionately high number of cases. 3
              Even facilities on “quarantine” continued to accept new intakes, rendering the quarantine
              incomplete. These scenarios occurred in the “best case” of influenza, a viral infection for
              which there was an effective and available vaccine and antiviral medications, unlike
              COVID-19, for which there is currently neither.

   III.      Profile of COVID-19 as an Infectious Disease 4

          20. The novel coronavirus, officially known as SARS-CoV-2, causes a disease known as
              COVID-19. The virus is thought to pass from person to person primarily through
              respiratory droplets (by coughing or sneezing) but may also survive on inanimate
              surfaces. People seem to be most able to transmit the virus to others when they are
              sickest but it is possible that people can transmit the virus before they start to show
              symptoms or for weeks after their symptoms resolve. In China, where COVID-19
              originated, the average infected person passed the virus on to 2-3 other people;
              transmission occurred at a distance of 3-6 feet. Not only is the virus very efficient at
              being transmitted through droplets, everyone is at risk of infection because our immune
              systems have never been exposed to or developed protective responses against this virus.
              A vaccine is currently in development but will likely not be able for another year to the
              general public. Antiviral medications are currently in testing but not yet FDA-approved,
              so only available for compassionate use from the manufacturer. People in prison and jail
              will likely have even less access to these novel health strategies as they become available.



   2
     Influenza Outbreaks at Two Correctional Facilities — Maine, March 2011, Centers for Disease
   Control and Prevention (2012),
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6113a3.htm.
   3
     David M. Reutter, Swine Flu Widespread in Prisons and Jails, but Deaths are Few, Prison
   Legal News (Feb. 15, 2010), https://www.prisonlegalnews.org/news/2010/feb/15/swine-flu-
   widespread-in-prisons-and-jails-but-deaths-are-few/.
   4
     This whole section draws from Brooks J. Global Epidemiology and Prevention of COVID19,
   COVID-19 Symposium, Conference on Retroviruses and Opportunistic Infections (CROI),
   virtual (March 10, 2020); Coronavirus (COVID-19), Centers for Disease Control,
   https://www.cdc.gov/coronavirus/2019-ncov/index.html; Brent Gibson, COVID-19
   (Coronavirus): What You Need to Know in Corrections, National Commission on Correctional
   Health Care (February 28, 2020), https://www.ncchc.org/blog/covid-19-coronavirus-what-you-
   need-to-know-in-corrections.
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       21. Most people (80%) who become infected with COVID-19 will develop a mild upper
           respiratory infection but emerging data from China suggests serious illness occurs in up
           to 16% of cases, including death. 5 Serious illness and death is most common among
           people with underlying chronic health conditions, like heart disease, lung disease, liver
           disease, and diabetes, and older age. 6 Death in COVID-19 infection is usually due to
           pneumonia and sepsis. The emergence of COVID-19 during influenza season means that
           people are also at risk from serious illness and death due to influenza, especially when
           they have not received the influenza vaccine or the pneumonia vaccine.

       22. The care of people who are infected with COVID-19 depends on how seriously they are
           ill. 7 People with mild symptoms may not require hospitalization but may continue to be
           closely monitored at home. People with moderate symptoms may require hospitalization
           for supportive care, including intravenous fluids and supplemental oxygen. People with
           severe symptoms may require ventilation and intravenous antibiotics. Public health
           officials anticipate that hospital settings will likely be overwhelmed and beyond capacity
           to provide this type of intensive care as COVID-19 becomes more widespread in
           communities.

       23. COVID-19 prevention strategies include containment and mitigation. Containment
           requires intensive hand washing practices, decontamination and aggressive cleaning of
           surfaces, and identifying and isolating people who are ill or who have had contact with
           people who are ill, including the use of personal protective equipment. Jails and prisons
           are totally under-resourced to meet the demand for any of these strategies. As infectious
           diseases spread in the community, public health demands mitigation strategies, which
           involves social distancing and closing other communal spaces (schools, workplaces, etc.)
           to protect those most vulnerable to disease. Jails and prisons are unable to adequately
           provide social distancing or meet mitigation recommendations as described above.

       24. The time to act is now. Data from other settings demonstrate what happens when jails
           and prisons are unprepared for COVID-19. News outlets reported that Iran temporarily
           released 70,000 prisoners when COVID-19 started to sweep its facilities. 8 To date, few
           state or federal prison systems have adequate (or any) pandemic preparedness plans in



   5
     Coronavirus Disease 2019 (COVID-19): Situation Summary, Centers for Disease Control and
   Prevention (March 14, 2020), https://www.cdc.gov/coronavirus/2019-ncov/summary.html.
   6
     Clinical course and risk factors for mortality of adult inpatients with COVID-19 in Wuhan,
   China: a retrospective cohort study. The Lancet (published online March 11, 2020),
   https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(20)30566-3/fulltext
   7
     Coronavirus Disease 2019 (COVID-19): Interim Clinical Guidance for Management of
   Patients with Confirmed Coronavirus Disease, Centers for Disease Control and Prevention
   (March 7, 2020), https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-
   management-patients.html.
   8
     Iran temporarily releases 70,000 prisoners as coronavirus cases surge, Reuters (March 9,
   2020), https://www.reuters.com/article/us-health-coronavirus-iran/iran-temporarily-releases-
   70000-prisoners-as-coronavirus-cases-surge-idUSKBN20W1E5.
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            place. 9 Systems are just beginning to screen and isolate people on entry and perhaps
            place visitor restrictions, but this is wholly inadequate when staff and vendors can still
            come to work sick and potentially transmit the virus to others.

   IV.      Risk of COVID-19 in ICE’s NYC-Area Detention Facilities

         25. I have reviewed the following materials in making my assessment of the danger of
             COVID-19 in the Bergen, Essex, Hudson, and Orange County jails (“ICE’s NYC-area
             jails”): (1) a declaration by Marinda van Dalen, a Senior Attorney in the Health Justice
             Program at New York Lawyers for the Public Interest (NYLPI); (2) the report Detained
             and Denied: Healthcare Access in Immigration Detention, released by NYLPI in 2017;
             and (3) the report Ailing Justice: New Jersey, Inadequate Healthcare, Indifference, and
             Indefinite Confinement in Immigration Detention, released by Human Rights First in
             2018.

         26. Based on my review of these materials, my experience working on public health in jails
             and prisons, and my review of the relevant literature, it is my professional judgment that
             these facilities are dangerously under-equipped and ill-prepared to prevent and manage a
             COVID-19 outbreak, which would result in severe harm to detained individuals, jail and
             prison staff, and the broader community. The reasons for this conclusion are detailed as
             follows.

         27. The delays in access to care that already exist in normal circumstances will only become
             worse during an outbreak, making it especially difficult for the facilities to contain any
             infections and to treat those who are infected.

         28. Failure to provide individuals with continuation of the treatment they were receiving in
             the community, or even just interruption of treatment, for chronic underlying health
             conditions will result in increased risk of morbidity and mortality related to these chronic
             conditions.

         29. Failure to provide individuals adequate medical care for their underlying chronic health
             conditions results in increased risk of COVID-19 infection and increased risk of
             infection-related morbidity and mortality if they do become infected.

         30. People with underlying chronic mental health conditions need adequate access to
             treatment for these conditions throughout their period of detention. Failure to provide
             adequate mental health care, as may happen when health systems in jails and prisons are
             taxed by COVID-19 outbreaks, may result in poor health outcomes. Moreover, mental
             health conditions may be exacerbated by the stress of incarceration during the COVID-19
             pandemic, including isolation and lack of visitation.


   9
     Luke Barr & Christina Carrega, State prisons prepare for coronavirus but federal prisons not
   providing significant guidance, sources say, ABC News (March 11, 2020),
   https://abcnews.go.com/US/state-prisons-prepare-coronavirus-federal-prisons-providing-
   significant/story?id=69433690.
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        31. Failure to keep accurate and sufficient medical records will make it more difficult for the
            facilities to identify vulnerable individuals in order to both monitor their health and
            protect them from infection. Inadequate screening and testing procedures in facilities
            increase the widespread COVID-19 transmission.

        32. Language barriers will similarly prevent the effective identification of individuals who
            are particularly vulnerable or may have symptoms of COVID-19. Similarly, the failure to
            provide necessary aids to individuals who have auditory or visual disabilities could also
            limit the ability to identify and monitor symptoms of COVID-19.

        33. The commonplace neglect of individuals with acute pain and serious health needs under
            ordinary circumstances is also strongly indicative that the facilities will be ill-equipped to
            identify, monitor, and treat a COVID-19 epidemic.

        34. The failure of these facilities to adequately manage single individuals in need of
            emergency care is a strong sign that they will be seriously ill-equipped and under-
            prepared when a number of people will need urgent care simultaneously, as would occur
            during a COVID-19 epidemic.

        35. For individuals in these facilities, the experience of an epidemic and the lack of care
            while effectively trapped can itself be traumatizing, compounding the trauma of
            incarceration.

   V.      Conclusion and Recommendations

        36. For the reasons above, it is my professional judgment that individuals placed in ICE’s
            NYC-area jails are at a significantly higher risk of infection with COVID-19 as compared
            to the population in the community and that they are at a significantly higher risk of harm
            if they do become infected. These harms include serious illness (pneumonia and sepsis)
            and even death.

        37. Reducing the size of the population in jails and prisons can be crucially important to
            reducing the level of risk both for those within those facilities and for the community at
            large.

        38. As such, from a public health perspective, it is my strong opinion that individuals who
            can safely and appropriately remain in the community not be placed in ICE’s NYC-area
            jails at this time. I am also strongly of the opinion that individuals who are already in
            those facilities should be evaluated for release.

        39. This is more important still for individuals with preexisting conditions (e.g., heart
            disease, chronic lung disease, chronic liver disease, suppressed immune system, diabetes)
            or who are over the age of 60. They are in even greater danger in these facilities,
            including a meaningfully higher risk of death.

        40. It is my professional opinion that these steps are both necessary and urgent. The horizon
            of risk for COVID-19 in these facilities is a matter of days, not weeks. Once a case of


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          COVID-19 identified in a facility, it will likely be too late to prevent a widespread
          outbreak.

      41. Health in jails and prisons is community health. Protecting the health of individuals who
          are detained in and work in these facilities is vital to protecting the health of the wider
          community.


   I declare under penalty of perjury that the foregoing is true and correct.


   March 15
         __, 2020                                                _______________________
   New Haven, Connecticut                                        Dr. Jaimie Meyer




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